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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                 )
In re:                                                           )    Chapter 11
                                                                 )
RIVERBED TECHNOLOGY, INC., et al.,1                              )    Case No. 21-11503 (CTG)
                                                                 )
                             Reorganized Debtors.                )    (Jointly Administered)
                                                                 )
                                                                 )    Re: Docket Nos.: 249, 250 and 252

                                                      Objection Deadline: March 23, 2022 at 4:00 p.m. ET
                                                           Hearing Date: March 30, 2022 at 2:00 p.m. ET

           NOTICE OF REORGANIZED DEBTORS’ MOTION FOR ENTRY
      OF A FINAL DECREE CLOSING THE CHAPTER 11 CASES PURSUANT TO
    SECTION 350(a) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

TO:      (a) the U.S. Trustee for the District of Delaware; (b) the holders of the 30 largest
         unsecured claims against the Reorganized Debtors (on a consolidated basis); (c) the Ad
         Hoc Group and the Ad Hoc 1L Subgroup; (d) the agents under each of the Reorganized
         Debtors’ prepetition secured credit facilities; (e) the indenture trustee under the
         Unsecured Notes Indenture; (f) the office of the attorney general for each of the states in
         which the Reorganized Debtors operate; (g) the United States Attorney’s Office for the
         District of Delaware; (h) the Internal Revenue Service; and (i) any party that has
         requested notice pursuant to Bankruptcy Rule 2002.

         PLEASE TAKE NOTICE that on March 15, 2022, the above-captioned reorganized

debtors (collectively, the “Reorganized Debtors” and before the Effective Date2 of the Plan,

the “Debtors”), filed the Reorganized Debtors’ Motion for Entry of a Final Decree Closing the

Chapter 11 Cases Pursuant to Section 350(a) of the Bankruptcy Code and Bankruptcy Rule 3022

[Docket No. 249] (the “Motion”) and Motion to Shorten Notice Period and Schedule Expedited

Hearing on Reorganized Debtors’ Motion for Entry of a Final Decree Closing the Chapter 11

1
    The reorganized debtors in these chapter 11 cases, along with the last four digits of each reorganized debtor’s
    federal tax identification number, are: Riverbed Technology, Inc. (8754); Aternity LLC (8754); Riverbed
    Holdings, Inc. (6675); and Riverbed Parent, Inc. (2610). The location of the reorganized debtors’ service
    address in these chapter 11 cases is: 680 Folsom Street, San Francisco, CA 94107.

2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Amended
    Joint Prepackaged Chapter 11 Plan of Reorganization of Riverbed Technology, Inc. and Its Debtor Affiliates
    [Docket No. 144] (as amended, supplemented, or otherwise modified from time to time, the “Plan”).


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Cases Pursuant to Section 350(a) of the Bankruptcy Code and Bankruptcy Rule 3022 [Docket

No. 250] (the “Motion to Shorten”) with the United States Bankruptcy Court for the District of

Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”).

A copy of the Motion and Motion to Shorten were previously served upon you.

                 PLEASE TAKE FURTHER NOTICE that on March 17, 2022, the Bankruptcy

Court entered the Order Granting Reorganized Debtors’ Motion to Shorten Notice Period and

Schedule Expedited Hearing on Reorganized Debtors’ Motion for Entry of a Final Decree

Closing the Chapter 11 Cases Pursuant to Section 350(a) of the Bankruptcy Code and

Bankruptcy Rule 3022 [Docket No. 252] (the “Order Shortening Notice”). A copy of the Order

Shortening Notice is attached hereto as Exhibit A.

                 PLEASE TAKE FURTHER NOTICE that any response or objection to the

entry of an order with respect to the relief sought in the Motion must be filed with the

Bankruptcy Court on or before March 23, 2022 at 4:00 p.m., prevailing Eastern Time.

                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon:         (i) the Reorganized Debtors, Riverbed

Technology, Inc., 680 Folsom Street, San Francisco, California 94107, Attn: Rebecca Hazard

(rebecca.hazard@riverbed.com); (ii) counsel to the Reorganized Debtors, Kirkland & Ellis LLP,

300 North LaSalle Street, Chicago, Illinois 60654, Attn: Patrick J. Nash, Jr., P.C.

(patrick.nash@kirkland.com) and Christopher S. Koenig (chris.koenig@kirkland.com), and

Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Christine A.

Okike, P.C. (christine.okike@kirkland.com); (iii) co-counsel to the Reorganized Debtors,

Pachulski, Stang, Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington, DE

19801, Attn: Laura Davis Jones, Esq. (ljones@pszjlaw.com) and Timothy P. Cairns, Esq.




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(tcairns@pszjlaw.com); (iv) counsel to the Ad Hoc Group, White & Case LLP, 1221 Avenue of

the Americas, New York, NY 10020-1095, Attn: Andrew Zatz, Esq. (azatz@whitecase.com) and

Andrea Amulic, Esq. (andrea.amulic@whitecase.com); (v) counsel to the Ad Hoc 1L Subgroup,

Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY 10017, Attn: Stephanie

Massman, Esq. (stephanie.massman@davispolk.com); and (vi) the Office of The United States

Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn:

Benjamin Hackman, Esq. (benjamin.a.hackman@usdoj.gov).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON MARCH 30, 2022 AT

2:00 P.M. EASTERN STANDARD TIME BEFORE THE HONORABLE CRAIG T.

GOLDBLATT, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED

STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET

STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.




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 Dated: March 17, 2022               /s/ Laura Davis Jones
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